                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF IOWA
                             EASTERN DIVISION

 UNITED STATES OF AMERICA,
               Plaintiff,                                No. CR03-2017-LRR
 vs.
                                                                ORDER
 THOMAS LAMMERS,
               Defendant.

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       This matter is before the court on the defendant’s application to proceed in forma
pauperis (docket no. 141), motion for modification of sentence (docket no. 142) and
application for appointment of counsel (docket no. 143).         The defendant filed his
applications and motion on July 13, 2007. The government did not file a resistance.
       A district court is unable to modify a term of imprisonment once it is imposed. See
18 U.S.C. § 3582(c). Nonetheless, several exceptions exist. The only subsection of 18
U.S.C. § 3582(c) that defendant purports to rely on is subsection two. Subsection two of
18 U.S.C. § 3582(c) provides:
             [I]n the case of a defendant who has been sentenced to a term
             of imprisonment based on a sentencing range that has
             subsequently been lowered by the Sentencing Commission
             pursuant to 28 U.S.C. [§] 994(o), upon motion of the
             defendant . . ., the court may reduce the term of
             imprisonment, after considering the factors set forth in section
             3553(a) to the extent that they are applicable, if such a
             reduction is consistent with applicable policy statements issued
             by the Sentencing Commission.
18 U.S.C. § 3582(c)(2); see also United States v. Auman, 8 F.3d 1268, 1271 (8th Cir.
1993) (“[18 U.S.C. §] 3582(c)(2) is a provision that permits a district court to reduce a
term of imprisonment if the sentencing range upon which the term was based is
subsequently lowered by the Sentencing Commission.”).


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      The defendant argues that a sentence reduction is warranted in light of a November
1, 1992 amendment to U.S.S.G. § 3E1.1. On November 1, 1992, the Sentencing
Commission amended the Guidelines Manual. See U.S.S.G. Appendix C, Amendment
459. U.S.S.G. § 1B1.10(a) sets forth the conditions that must exist before a defendant is
entitled to be resentenced as a result of an amended guideline range. It states:
             Where a defendant is serving a term of imprisonment, and the
             guideline range applicable to that defendant has subsequently
             been lowered as a result of an amendment to the Guidelines
             Manual listed in subsection (c) below, a reduction in the
             defendant’s term of imprisonment is authorized under 18
             U.S.C. § 3582(c)(2). If none of the amendments listed in
             subsection (c) is applicable, a reduction in the defendant’s term
             of imprisonment under 18 U.S.C. § 3582(c)(2) is not
             consistent with this policy statement and thus is not authorized.
U.S.S.G. § 1B1.10(a); see also U.S.S.G. § 1B1.10, Commentary, Application Note 1
(“Eligibility for consideration under 18 U.S.C. § 3582(c)(2) is triggered only by an
amendment listed in subsection (c) that lowers the applicable guideline range.”). The
Sentencing Commission did not include Amendment 459 within subsection (c). U.S.S.G.
§ 1B1.10(c). Consequently, the court is unable to reduce the defendant’s sentence based
on Amendment 459.
      Moreover, the court sentenced the defendant on March 15, 2004, and judgment
entered against him on the same date. Clearly, the amended version of U.S.S.G. § 3E1.1
applied when the court sentenced the defendant and he should have filed a direct appeal
if he believed that the court incorrectly applied U.S.S.G. § 3E1.1. Finally, with respect
to the defendant’s assertions regarding the appropriate term of supervised release and
United States v. Booker, 543 U.S. 220, 125 S. Ct. 738, 160 L. Ed. 2d 621 (2005), they
should have been made in either a timely direct appeal or a timely motion pursuant to 28
U.S.C. § 2255. See, e.g., United States v. Lurie, 207 F.3d 1075, 1077 (8th Cir. 2000)




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(stating that a “challenge to a federal conviction [. . .] is most appropriately brought as a
motion under 28 U.S.C. § 2255”).1
       In sum, the defendant is unable to utilize 18 U.S.C. § 3582(c)(2) to reduce his
sentence of 151 months imprisonment or to advance his other assertions. Accordingly, the
defendant’s motion for modification of sentence (docket no. 142) is denied. Having
determined that the defendant is not entitled to a modification of the term of imprisonment
that the court imposed, the defendant’s application to proceed in forma pauperis (docket
no. 141) and application for appointment of counsel (docket no. 143) are denied as moot.


       IT IS SO ORDERED.
       DATED this 16th day of July, 2007.




       1
        The court notes that any motion pursuant to 28 U.S.C. § 2255 is barred by the
applicable statute of limitations. See 28 U.S.C. § 2255.

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